           Case 1:17-cr-00264-LJO-SKO Document 214 Filed 01/21/20 Page 1 of 2


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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 17-CR-00264-LJO
12                                Plaintiff,            STIPULATION TO CONTINUE DEADLINE FOR
                                                        DEFENDANT TO FILE FORMAL OBJECTIONS
13                          v.                          TO PRESENTENCE INVESTIGATION REPORT
14   OSCAR BAZAN,                                       DATE: January 27, 2020
                                                        TIME: 8:30 a.m.
15                               Defendant.             COURT: Hon. Lawrence J. O'Neill
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     This matter is set for sentencing January 27, 2020. By prior stipulation and order, the

21 Defendant’s objections to the revised final PSR were set to be due on January 20, 2020.

22          2.     The defendant needs three additional days (given the holiday and a calendaring conflict),

23 to January 23, 2020 to file objections to the revised final PSR. The government does not oppose the

24 continuance, and does not intend to file any formal objections to the revised final PSR. The government

25 will respond to the defendant’s objections no later than January 24, 2020, and will endeavor to file a

26 response sooner than that.
27 ///

28 ///

      STIPULATION TO CONTINUE DEADLINE TO FILE          1
30    INFORMAL OBJECTIONS TO DRAFT PSR
          Case 1:17-cr-00264-LJO-SKO Document 214 Filed 01/21/20 Page 2 of 2


 1         IT IS SO STIPULATED.

 2
     Dated: January 17, 2020                           MCGREGOR W. SCOTT
 3                                                     United States Attorney
 4
                                                       /s/ JEFFREY A. SPIVAK
 5                                                     JEFFREY A. SPIVAK
                                                       Assistant United States Attorney
 6

 7
     Dated: January 17, 2020                           /s/ Patrick Aguirre
 8                                                     Patrick Aguirre
 9                                                     Counsel for Defendant
                                                       OSCAR BAZAN
10                                                     (as approved by email 1/17/2020)

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13                                               ORDER

14
     IT IS SO ORDERED.
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16
       Dated:     January 21, 2020                     /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES DISTRICT JUDGE
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      STIPULATION TO CONTINUE DEADLINE TO FILE     2
30    INFORMAL OBJECTIONS TO DRAFT PSR
